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                    UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF ILLINOIS

 FCCI INSURANCE COMPANY

       Plaintiff,

 v.                                               No. 18-cv-1327-DRH

 DEERE & COMPANY,

       Defendant.

                         JUDGMENT IN A CIVIL CASE

       DECISION BY COURT.       This matter is before the court for the purpose of
 docket control.
       IT IS HEREBY ORDERED AND ADJUDGED that pursuant to the
 Stipulation for Dismissal with Prejudice filed December 10, 2018, (Doc. 10), this
 case is DISMISSED with prejudice, with each party to bear its own costs and
 attorney’s fees.


                                      MARGARET M. ROBERTIE
                                      CLERK OF COURT

                                     BY: /s/Alex Francis
                                    Deputy Clerk

 APPROVED:                               Judge Herndon
                                         2018.12.10
                                         12:20:05 -06'00'
              U.S. DISTRICT JUDGE
              U. S. DISTRICT COURT
